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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-00514 TLN AND 2:12-CR-
                                                           00118-TLN
12                                  Plaintiff,
                                                           STIPULATION RESETTING RESTITUTION
13                           v.                            HEARING AND WAIVING 90 DAY
                                                           REQUIREMENT; FINDINGS AND ORDER
14   KHADZHIMURAD BABTOV,
                                                           DATE: April 16, 2015
15                                 Defendant.              TIME: 9:30 a.m.
                                                           COURT: Hon. Troy L. Nunley
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                                                   STIPULATION
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             1.      On January 29, 2015 the parties appeared before the court and by mutual agreement reset
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     the restitution hearing in this matter to April 16, 2015. The defendant did not object to the continuance
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     of the restitution hearing.
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             2.      By this stipulation, the parties now move to continue the restitution hearing until June 11,
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     2015 and the defendant continues to waive the time 90 day time period required for the imposition of a
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     restitution order pursuant to 18 U.S.C. § 3664(d)(5).
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             3.      The parties agree and stipulate, and request that the Court find the following:
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                     a)      The initial restitution hearing was set well within the 90 day limit set out in 18
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     U.S.C. § 3664(d)(5).
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                     b)      Counsel for the United States has been attempting to finalize the amount of
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     restitution potentially owned, coordinate with Bank of America to confirm the actual loss suffered as a
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     result of the defendant’s conduct and respond to defendant’s request for further substantiating
       STIPULATION RE: RESTITUTION HEARING; FINDINGS     1
       AND ORDER
              Case 2:12-cr-00118-TLN Document 61 Filed 04/14/15 Page 2 of 2


 1 documentation. The United States needs additional time to conclude its work on this subject.

 2                 c)      The defendant does not object to this continuance request and hereby continues to

 3 waive the 90 day time period for entry of a restitution order contemplated by 18 U.S.C. § 3664(d)(5).

 4 Defense counsel is unavailable to attend or participate in a restitution hearing until June 11, 2015.

 5 IT IS SO STIPULATED.

 6
     Dated: April 14, 2015                                   BENJAMIN B. WAGNER
 7                                                           United States Attorney
 8
                                                             /s/ HEIKO P. COPPOLA
 9                                                           HEIKO P. COPPOLA
                                                             Assistant United States Attorney
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11
     Dated: April 14, 2015                                   /s/ John Duree
12                                                           JOHN DUREE
13                                                           Counsel for Defendant
                                                             KHADZHIMURAD BABOV
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16                                          FINDINGS AND ORDER

17          IT IS SO FOUND AND ORDERED this 14th day of April, 2015.

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21                                                                  Troy L. Nunley
                                                                    United States District Judge
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      STIPULATION RE: RESTITUTION HEARING; FINDINGS      2
      AND ORDER
